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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF MINNESOTA


Toby Depoister,                                      File No. 21-cv-1810 (ECT/HB)

              Petitioner,

v.

B. Birkholz, Warden of Federal Prison                            ORDER
Camp Duluth, and Michael Carvajal,
Director of the Federal Bureau of Prisons,
each in their official capacities,

           Respondents.
________________________________________________________________________

      Magistrate Judge Hildy Bowbeer issued a Report and Recommendation on August

30, 2021. ECF No. 7. No party has objected to that Report and Recommendation, and it

is therefore reviewed for clear error. See Fed. R. Civ. P. 72(b); Grinder v. Gammon, 73

F.3d 793, 795 (8th Cir. 1996) (per curiam). Finding no clear error, and based upon all of

the files, records, and proceedings in the above-captioned matter, IT IS ORDERED

THAT:

      1.      The Report and Recommendation [ECF No. 7] is ACCEPTED.

      2.      The Petition for Writ of Habeas Corpus Pursuant to 28 U.S.C. § 2241 [ECF

No. 1] is DENIED without prejudice.

                  LET JUDGMENT BE ENTERED ACCORDINGLY.


Dated: October 5, 2021                   s/ Eric C. Tostrud
                                         Eric C. Tostrud
                                         United States District Court
